                       3:22-cv-03011-RM-KLM # 1          Page 1 of 11
                                                                                                  E-FILED
                                                                Tuesday, 01 February, 2022 11:01:29 AM
                                                                           Clerk, U.S. District Court, ILCD

                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS
                               SPRINGFIELD DIVISION

MICHAEL DECARO,                                )
                                               )
       Plaintiffs,                             )
                                               )
       v.                                      )     Case No. 3:22-cv-3011
                                               )
TRANS UNION, LLC, EXPERIAN                     )
INFORMATION SOLUTIONS, INC,                    )
EQUIFAX INFORMATION SERVICES,                  )
LLC, AND CREDIT ACCEPTANCE                     )
CORPORATION,                                   )
                                               )
       Defendants.                             )

                                PLAINTIFF’S COMPLAINT

       Plaintiff, MICHAEL DECARO (“Plaintiff”), by and through his attorneys, alleges the

following against Defendants, EXPERIAN INFORMATION SOLUTIONS INC., TRANS

UNION, LLC, EQUIFAX INFORMATION SERVICES, LLC, and CREDIT ACCEPTANCE

CORPORATION (“Experian” “Trans Union” and “Equifax” and “Credit Acceptance”

respectively and “Defendants” collectively):

                                         INTRODUCTION

   1. Plaintiff’s Complaint is an action for actual and statutory damages for violations of the

       Fair Credit Reporting Act (“FCRA”), 15 U.S.C. § 1681, et seq. and Regulation V, 12

       C.F.R. part 1022.

                                   JURISDICTION AND VENUE

   2. This court has jurisdiction under the FCRA 15 U.S.C. § 1681, et seq., and pursuant to 28

       U.S.C. §§ 1331 and 1337.




                                               1
                       3:22-cv-03011-RM-KLM # 1                Page 2 of 11




3. Venue and personal jurisdiction in this District are proper because Defendants do or

   transact business within this District, and a material portion of the events at issue occurred

   in this District.

                                                  PARTIES

4. Plaintiff is a natural person residing in the City of Pana, Christian County, State of Illinois.

5. Plaintiff is a “consumer” as that term is defined by § 1681a(c) of the FCRA.

6. Defendant Experian is a credit reporting agency that regularly conducts business

   throughout every state and county in the United States and as a corporation that does

   business in the state of Illinois, is a citizen of the state of Illinois.

7. Defendant Trans Union is a credit reporting agency that regularly conducts business

   throughout every state and county in the United States and as a corporation that does

   business in the state of Illinois, is a citizen of the state of Illinois

8. Defendant Equifax is a credit reporting agency that regularly conducts business throughout

   every state and county in the United States and as a corporation that does business in the

   state of Illinois, is a citizen of the state of Illinois.

9. At all relevant times Defendants Experian, Trans Union and Equifax were each a

   “consumer reporting agency” as that term is defined by the FCRA.

10. Defendant Credit Acceptance regularly conducts business throughout every state and

   county in the United States and as a corporation that does business in the state of Illinois,

   is a citizen of the state of Illinois.

11. Defendant Credit Acceptance is a “furnisher” as that term is defined by the FCRA and

   Regulation V. 12 C.F.R. § 1022.41(c).

12. At all relevant times, Defendants were each a “person” as that term is defined by the FCRA.



                                                 2
                     3:22-cv-03011-RM-KLM # 1            Page 3 of 11




                                  FACTUAL ALLEGATIONS

13. At all relevant times, credit reports as alleged in this pleading are “consumer reports” as

   that term is defined by 15 U.S.C. § 1681a(d).

14. Defendants Experian, Trans Union, and Equifax have been reporting derogatory and

   inaccurate statements and information relating to Plaintiff and Plaintiff’s credit history to

   third parties (hereinafter, the “inaccurate information”).

15. The inaccurate information of which Plaintiff complains is an account, or trade-line, that

   reflect Plaintiff’s history of credit, named: Credit Acceptance Corporation.

16. In or around August 2021, Plaintiff sent a written dispute to Defendants Experian, Trans

   Union and Equifax informing it of the inaccurate reporting of the Tradeline.

17. Plaintiff’s written dispute letter explained that the alleged debt was paid in full and is no

   longer owed.

18. Plaintiff requested that Defendants Experian, Trans Union and Equifax correct the

   inaccuracy.

19. The inaccurate information negatively reflects upon Plaintiff, Plaintiff’s credit repayment

   history, Plaintiff’s financial responsibility as a debtor, and Plaintiff’s worthiness.

20. The credit reports have been and continue to be disseminated to various persons and credit

   grantors, both known and unknown.

21. In or around August 2021, Plaintiff disputed the inaccurate information with Defendants

   Experian, Trans Union and Equifax by written communication to their representatives [and

   by following Defendants Experian, Trans Union and Equifax’s established procedure for

   disputing consumer credit information].

22. Upon information and belief, Defendants Experian, Trans Union and Equifax notified



                                              3
                      3:22-cv-03011-RM-KLM # 1           Page 4 of 11




   Credit Acceptance Corporation. of Plaintiff’s dispute and the nature of the dispute.

23. Upon information and belief, within five (5) days of Plaintiff disputing the inaccurate

   information with Defendants Experian, Trans Union and Equifax, Defendant Credit

   Acceptance Corporation received notification from Defendants Experian, Trans Union

   and Equifax of Plaintiff’s dispute and the nature of the dispute.

24. Upon information and belief, Defendants Experian, Trans Union and Equifax received the

   results of Credit Acceptance Corporation’s investigation as to Plaintiff’s dispute.

25. Upon information and belief, Defendants Experian, Trans Union and Equifax updated the

   reporting of the account at issue solely based upon the information it received from

   Defendant Credit Acceptance Corporation in response to Plaintiff’s dispute.

26. Defendants Experian, Transunion and Equifax did not respond to Plaintiff’s August 2021

   dispute.

27. Despite Plaintiff’s efforts to date, Defendants have nonetheless deliberately, willfully,

   intentionally, recklessly and negligently repeatedly failed to perform reasonable

   reinvestigations of the above dispute as required by the FCRA, have failed to remove the

   inaccurate information and have continued to report the derogatory inaccurate information

   about Plaintiff.

28. At all times pertinent hereto, Defendants were acting by and through Defendants’ agents,

   servants and/or employees who were acting within the course and scope of their agency or

   employment, and under the direct supervision and control of Defendants.

29. At all times pertinent hereto, the conduct of Defendants, as well as that of Defendants’

   agents, servants and/or employees, was malicious, intentional, willful, reckless, and in

   grossly negligent disregard for federal and state laws and the rights of Plaintiff herein.



                                             4
                       3:22-cv-03011-RM-KLM # 1             Page 5 of 11




30. Plaintiff has been damaged, and continues to be damaged, in the following ways:

       a. Impeded Plaintiff’s ability to obtain credit;

       b. Out of pocket expenses associated with disputing the information only to find the

           information to remain on the credit report;

       c. Emotional distress and mental anguish associated with having incorrect derogatory

           personal information transmitted about Plaintiff to other people both known and

           unknown;

       d. Denial of credit, loans, financing and/or other damages, not within five (5) days of

           Plaintiff disputing the inaccurate information with yet known by Plaintiff; and

       e. Decreased credit score which may result in inability to obtain credit on future

           attempts.

                          COUNT I
    DEFENDANT EXPERIAN VIOLATED THE FAIR CREDIT REPORTING ACT

31. Plaintiff repeats and re-alleges paragraphs one (1) through thirty (30) of Plaintiff’s

   Complaint as the allegations in Count I of Plaintiff’s Complaint.

32. Pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o, Experian is liable to Plaintiff for

   engaging in the following conduct:


       a. Willfully or negligently failing to conduct a proper and reasonable reinvestigation

           concerning the inaccurate information after receiving notice of the dispute from

           Plaintiff, in violation of 15 U.S.C. §1681i(a);

       b. Willfully or negligently failing to provide all relevant information provided by

           Plaintiff regarding the dispute of the inaccurate information to the furnishing

           entities, in violation of 15 U.S.C. §1681i(a);

       c. Willfully or negligently failing to review and consider all relevant information


                                             5
                       3:22-cv-03011-RM-KLM # 1              Page 6 of 11




              submitted by Plaintiff concerning the dispute of the inaccurate information, in

              violation of 15 U.S.C. §1681i(a);

          d. Willfully or negligently failing to delete the inaccurate information from Plaintiff’s

              credit file after reinvestigation, in violation of 15 U.S.C. §1681i(a); and

          e. Willfully or negligently failing to employ and follow reasonable procedures to

              assure maximum possible accuracy of Plaintiff’s credit report, information and file,

              in violation of 15 U.S.C. §1681e(b).

   33. The conduct of Experian was a direct and proximate cause, as well as a substantial factor,

      in bringing about the injuries, damages and harm to Plaintiff that are outlined more fully

      above and, as a result, Experian is liable to Plaintiff for the full amount of statutory, actual

      and punitive damages, along with the attorneys’ fees and the costs of litigation, as well as

      such further relief, as may be permitted by law.

      WHEREFORE, Plaintiff, MICHAEL DECARO, respectfully requests judgment be entered

against Defendant, EXPERIAN INFORMATION SOLUTIONS, INC., for the following:

   34. All actual compensatory damages suffered pursuant to the Fair Credit Reporting Act, 15

      U.S.C. § 1681n(a);

   35. Statutory damages of $1,000.00 pursuant to the Fair Credit Reporting Act, 15 U.S.C.

      § 1681n(a);

   36. Costs and reasonable attorneys’ fees pursuant to the Fair Credit Reporting Act, 15 U.S.C.

      § 1681n(a);

   37. Equitable relief, including enjoining Defendant from further violations, pursuant to Fair

      Credit Reporting Act, 15 U.S.C. § 1681n(a); and

   38. Any other relief that this Honorable Court deems appropriate.



                                                  6
                     3:22-cv-03011-RM-KLM # 1               Page 7 of 11




                              COUNT II
     DEFENDANT TRANS UNION VIOLATED THE FAIR CREDIT REPORTING
                               ACT

39. Plaintiff repeats and re-alleges paragraphs one (1) through thirty (30) of Plaintiff’s

   Complaint as the allegations in Count II of Plaintiff’s Complaint.

40. Pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o, Trans Union is liable to Plaintiff for

   engaging in the following conduct:


       a. Willfully or negligently failing to conduct a proper and reasonable reinvestigation

           concerning the inaccurate information after receiving notice of the dispute from

           Plaintiff, in violation of 15 U.S.C. §1681i(a);

       b. Willfully or negligently failing to provide all relevant information provided by

           Plaintiff regarding the dispute of the inaccurate information to the furnishing

           entities, in violation of 15 U.S.C. §1681i(a);

       c. Willfully or negligently failing to review and consider all relevant information

           submitted by Plaintiff concerning the dispute of the inaccurate information, in

           violation of 15 U.S.C. §1681i(a);

       d. Willfully or negligently failing to delete the inaccurate information from Plaintiff’s

           credit file after reinvestigation, in violation of 15 U.S.C. §1681i(a); and

       e. Willfully or negligently failing to employ and follow reasonable procedures to

           assure maximum possible accuracy of Plaintiff’s credit report, information and file,

           in violation of 15 U.S.C. §1681e(b).

41. The conduct of Trans Union was a direct and proximate cause, as well as a substantial

   factor, in bringing about the injuries, damages and harm to Plaintiff that are outlined more

   fully above and, as a result, Trans Union is liable to Plaintiff for the full amount of statutory,

   actual and punitive damages, along with the attorneys’ fees and the costs of litigation, as


                                               7
                       3:22-cv-03011-RM-KLM # 1                Page 8 of 11




      well as such further relief, as may be permitted by law.

      WHEREFORE, Plaintiff, MICHAEL DECARO, respectfully requests judgment be entered

against Defendant, TRANS UNION, LLC, for the following:

   42. All actual compensatory damages suffered pursuant to the Fair Credit Reporting Act, 15

      U.S.C. § 1681n(a);

   43. Statutory damages of $1,000.00 pursuant to the Fair Credit Reporting Act, 15 U.S.C.

      § 1681n(a);

   44. Costs and reasonable attorneys’ fees pursuant to the Fair Credit Reporting Act, 15 U.S.C.

      § 1681n(a);

   45. Equitable relief, including enjoining Defendant from further violations, pursuant to Fair

      Credit Reporting Act, 15 U.S.C. § 1681n(a); and

   46. Any other relief that this Honorable Court deems appropriate.

                                COUNT III
        DEFENDANT EQUIFAX VIOLATED THE FAIR CREDIT REPORTING ACT

   47. Plaintiff repeats and re-alleges paragraphs one (1) through thirty (30) of Plaintiff’s

      Complaint as the allegations in Count II of Plaintiff’s Complaint.

   48. Pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o, Trans Union is liable to Plaintiff for

      engaging in the following conduct:


          a. Willfully or negligently failing to conduct a proper and reasonable reinvestigation

              concerning the inaccurate information after receiving notice of the dispute from

              Plaintiff, in violation of 15 U.S.C. §1681i(a);

          b. Willfully or negligently failing to provide all relevant information provided by

              Plaintiff regarding the dispute of the inaccurate information to the furnishing

              entities, in violation of 15 U.S.C. §1681i(a);


                                                8
                       3:22-cv-03011-RM-KLM # 1             Page 9 of 11




          c. Willfully or negligently failing to review and consider all relevant information

              submitted by Plaintiff concerning the dispute of the inaccurate information, in

              violation of 15 U.S.C. §1681i(a);

          d. Willfully or negligently failing to delete the inaccurate information from Plaintiff’s

              credit file after reinvestigation, in violation of 15 U.S.C. §1681i(a); and

          e. Willfully or negligently failing to employ and follow reasonable procedures to

              assure maximum possible accuracy of Plaintiff’s credit report, information and file,

              in violation of 15 U.S.C. §1681e(b).

   49. The conduct of Equifax was a direct and proximate cause, as well as a substantial factor,

      in bringing about the injuries, damages and harm to Plaintiff that are outlined more fully

      above and, as a result, Trans Union is liable to Plaintiff for the full amount of statutory,

      actual and punitive damages, along with the attorneys’ fees and the costs of litigation, as

      well as such further relief, as may be permitted by law.

      WHEREFORE, Plaintiff, MICHAEL DECARO, respectfully requests judgment be entered

against Defendant, EQUIFAX INFORMATION SERVICES, LLC, for the following:

   50. All actual compensatory damages suffered pursuant to the Fair Credit Reporting Act, 15

      U.S.C. § 1681n(a);

   51. Statutory damages of $1,000.00 pursuant to the Fair Credit Reporting Act, 15 U.S.C.

      § 1681n(a);

   52. Costs and reasonable attorneys’ fees pursuant to the Fair Credit Reporting Act, 15 U.S.C.

      § 1681n(a);

   53. Equitable relief, including enjoining Defendant from further violations, pursuant to Fair

      Credit Reporting Act, 15 U.S.C. § 1681n(a); and

   54. Any other relief that this Honorable Court deems appropriate.

                                                  9
                      3:22-cv-03011-RM-KLM # 1           Page 10 of 11




                               COUNT IV
         DEFENDANT CREDIT ACCEPTANCE CORPORATION VIOLATED THE
                       FAIR CREDIT REPORTING ACT

   55. Plaintiff repeats and re-alleges paragraphs one (1) through thirty (30) of Plaintiff’s

      Complaint as the allegations in Count IV of Plaintiff’s Complaint.

   56. Defendant Credit Acceptance Corporation violated sections 1681n and 1681o of the FCRA

      by engaging in the following conduct, which violates 15 U.S.C. §1681s-2(b):

          a. Willfully and negligently failing to review all relevant information concerning
             Plaintiff’s account provided to Defendant;

          b. Willfully and negligently failing to report the inaccurate status of the inaccurate
             information to all credit reporting agencies;

          c. Willfully and negligently continuing to furnish and disseminate inaccurate and
             derogatory credit, account and other information concerning the Plaintiff to credit
             reporting agencies and other entities despite knowing that said information was
             inaccurate;

          d. Willfully and negligently failing to comply with the requirements imposed on
             furnishers of information pursuant to 15 U.S.C. § 1681s-2; and

          e. Willfully and negligently failing to establish and implement reasonable written
             policies and procedures regarding the accuracy and integrity of the information
             relating to consumers that it furnishes to a consumer reporting agency pursuant to
             Regulation V.12 C.F.R. § 1022.42(a).


   57. Credit Acceptance’s conduct was a direct and proximate cause, as well as a substantial

      factor, in causing the injuries, damages and harm to Plaintiff that are outlined more fully

      above, and as a result, Credit Acceptance is liable to compensate Plaintiff for the full

      amount of statutory, actual and punitive damages, along with attorneys’ fees and costs, as

      well as such other relief permitted by law.

      WHEREFORE, Plaintiff, MICHAEL DECARO, respectfully requests judgment be entered

against Defendant, CREDIT ACCEPTANCE CORPORATION, for the following:



                                               10
                     3:22-cv-03011-RM-KLM # 1          Page 11 of 11




         a. All actual compensatory damages suffered pursuant to the Fair Credit Reporting

            Act, 15 U.S.C. § 1681n(a);

         b. Statutory damages of $1,000.00 pursuant to the Fair Credit Reporting Act, 15

            U.S.C. § 1681n(a);

         c. Costs and reasonable attorneys’ fees pursuant to the Fair Credit Reporting Act, 15

            U.S.C. § 1681n(a);

         d. Punitive damages and equitable relief, including enjoining Defendant from further

            violations, pursuant to Fair Credit Reporting Act, 15 U.S.C. § 1681n(a); and

         e. Any other relief that this Honorable Court deems appropriate.



DATED: February 01, 2022           RESPECTFULLY SUBMITTED,



                                   By:_/s/ Michael S. Agruss________________
                                          Michael S. Agruss
                                          IL State Bar #: 6281600
                                          Agruss Law Firm, LLC
                                          4809 N. Ravenswood Ave.
                                          Suite 419
                                          Chicago, IL 60640
                                          Tel: 312-224-4695
                                          Fax: 312-253-4451
                                          michael@agrusslawfirm.com
                                          Attorney for Plaintiff




                                             11
